  1       Dianne C. Kerns, #011557
  2                   Mailing Address:
                 7320 N. La Cholla #154-413
                     Tucson, AZ 85741
  3                 TELEPHONE 520.544.9094
                    FACSIMILE 520.544.7894
                   MAIL@DCKTRUSTEE.COM
  4    Dianne Crandell Kerns, Chapter 13 Trustee
  5
  6
  7                                IN THE UNITED STATES BANKRUPTCY COURT

  8                                           FOR THE DISTRICT OF ARIZONA

  9
 10    In re:                                                     CHAPTER 13 PROCEEDINGS
 11    JERRY B STAFFORD,                                          Case No. 4:17-bk-13535-BMW
 12    CAROL A STAFFORD,                                          TRUSTEE’S PLAN
                                                                  OBJECTION/EVALUATION WITH
 13                                                               NOTICE OF POTENTIAL DISMISSAL
                                               Debtors.           IF CONDITIONS ARE NOT
 14                                                               SATISFIED
 15                                                               RE: ORIGINAL PLAN (DKT #2)
 16
 17
 18             DIANNE CRANDELL KERNS, Trustee, has analyzed the above-referenced plan and
 19   supporting documents on February 13, 2018 and submits the following evaluation and
 20
      recommendations:
 21
      General Requirements:
 22
         a. Due to the possibility of errors on the claims docket, it is the Attorney’s responsibility to
 23
            review all proofs of claim filed with the Court and resolve any discrepancies between the
 24         claims and the Plan prior to submitting any proposed Stipulated Order Confirming Plan to
            Trustee. Trustee will not recommend confirmation, nor stipulate to confirmation, until the
 25         proof of claims issues are resolved to Trustee’s satisfaction.
 26



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  1      b. Requests by Trustee for documents and information are not superseded by the filing of an
            amended or modified plan. LRBP Rule 2084-10(b).
  2
         c. Trustee objects to any reduction in the Plan duration or payout in a proposed Stipulated
  3
            Order Confirming Plan unless an amended or modified plan is filed (using Local Form
  4         2084-4, Chapter 13 Plan) and noticed out.

  5      d. Trustee requires that any proposed Order Confirming Plan state: “The Plan and this Order
            shall not constitute an informal proof of claim for any creditor.”
  6
         e. Trustee requires that any Stipulated Order Confirming Plan state: “Debtor is instructed to
  7         remit all payments on or before the stated due date each month. Debtor is advised that when
  8         payments are remitted late, additional interest may accrue on secured debts, which may
            result in a funding shortfall at the end of the Plan term. Any funding shortfall must be cured
  9         before a discharge can be entered. This requirement is effective regardless of plan payment
            suspensions, waivers or moratoriums, and must be included in any Stipulated Order
 10         Confirming.”
 11
         f. At the time of confirmation, Debtor is required to certify, via language in the Stipulated
 12         Order confirming, that they are current on all payments that have come due on any Domestic
 13         Support Orders since the filing of their case and that they are current on all required tax
            return filings [pursuant to 11 U.S.C. Sec 1325(a)(8), (9)].
 14
         g. Debtor or Debtor’s Attorney is required to provide copies of their federal and state income
 15         tax returns for each year for the duration of the Plan to Trustee. Tax returns must be
            forwarded within 30 days after the returns have been filed. All Personally Identifiable
 16         Information must be redacted prior to submission. Tax returns may be submitted to
 17         mail@dcktrustee.com. This requirement is to be included in the Stipulated Order
            Confirming the plan. Failure to submit tax returns may result in the dismissal of the Chapter
 18         13 case.

 19      h. If Debtors received a tax refund larger than $1,000.00 for the tax period preceding the filing
            of this case, the continuation of such deduction would constitute a diversion of income that
 20         would otherwise be available to creditors. Accordingly Trustee requires that Debtors (i)
            adjust payroll tax deductions to prevent over withholding, (ii) amend Schedule I to reflect
 21
            the reduced withholding; (ii) submit to Trustee two consecutive paystubs to verify said
 22         reduction; and (iv) increase the plan payments in the Stipulated Order Confirming.

 23      i. If Debtors are in default (in any amount) on their first mortgage the plan must propose
             mortgage conduit payments. If the plan does not propose a mortgage conduit, Trustee
 24          objects to confirmation. This may be resolved by amending the plan or seeking an order
             from the court excusing compliance with the conduit requirement. L.R.B.P. Rule 2084-4(b).
 25   Specific Requirements:
 26



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  1        1. Tax Refunds. If Debtor receives a tax refund in excess of $1,000 during the pendency
              of this case, said refund must be turned over to Trustee. The proposed stipulated order
  2           on confirmation needs to specifically provide that such refund is a SUPPLEMENTAL
  3           payment under the plan.

  4        2. The Order Confirming Plan Must Contain the Following Language Related to
              Treatment of General Unsecured Claims: “General Unsecured Claims. Such claims
  5           shall be paid pro rata the balance of payments under the Plan and any unsecured debt
              balance remaining unpaid at the end of the Plan may be discharged as provided in 11
  6           U.S.C. § 1328(a).”
  7
           3. Filed Proofs of Claim. To date Trustee has noted that the following Creditors have
  8           filed proofs of claim that differ from the treatment proposed in the Chapter 13
              Plan. Trustee objects to the treatment of these proofs of claim. This objection may
  9           be resolved by amending the secured/priority treatment to match the proofs of
              claim in the Stipulated Order Confirming the Plan or by filing an objection
 10           followed by an order: AZDOR and WELLS FARGO HOME MORTGAGE. This
 11           objection extends to proofs of claim, if any, filed after the date of this
              evaluation/objection which seek treatment different from that provided for in the
 12           proposed Chapter 13 Plan.

 13        4. AZDOR Proof of Claim 1. Trustee objects to confirmation because Creditor has
              filed a priority proof of claim in the amount of $466.36 for Debtor’s 2013 taxes and
 14           Debtor’s plan proposes to pay $464.12. This objection may be resolved by
              addressing the proof of claim and the amounts filed by Creditor and have the order
 15
              confirming match the claim.
 16
           5. Wells Fargo Home Mortgage Proof of Claim 4. Trustee objects to confirmation
 17           because the creditor has filed a secured proof of claim in the amount of $107.74 for
              home arrears on Debtor’s 1st mortgage and Debtor’s plan states that there are no
 18           home arrears owed. This objection may be resolved by addressing the proof of
              claim and the amounts filed by creditor and have the order confirming match the
 19           claim or file an objection to the proof of claim followed by an order.
 20
           6. Unfiled Proofs of Claim. To date the following creditors listed in the Plan have not filed
 21           proofs of claims: NONE. Trustee reserves the right to supplement or amend this
              paragraph.
 22
           7. Plan Payments. Debtors have made payments in the total amount of $1,110.00.
 23           Debtors are current on these payments through March 14, 2018. Trustee will not
              stipulate to confirmation unless the plan payments are current. Plan payment
 24
              information may be obtained by logging on to www.ndc.org. In general, the
 25           information on this website is 24-hours old.

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  1            8. Applicable Commitment Period. Trustee objects to Debtor’s applicable
                  commitment period of 36 months as it does not meet the requirements of Section
  2               1325(b)(4). This objection may be resolved by amending Debtor’s plan to 60
  3               months or by providing payment in full of all allowed claims.

  4            9. Liquidation Analysis: At this time Trustee believes that the plan does satisfy the
                  liquidation analysis requirements. Trustee reserves the right to amend this conclusion.
  5
               10. Projected Disposable Income: At this time Trustee believes that the plan does not
  6                satisfy the projected disposable income requirement of Sec 1325(b). Trustee
                   reserves the right to amend this conclusion.
  7
               11. Plan Feasibility. Pursuant to Trustee’s calculations, the Chapter 13 Plan is not
  8
                   feasible at this time because it does not comply with 11 U.S.C.§1325(b)(1)(B).
  9                According to Debtor’s Form I22C, the disposable income of $144.01, multiplied by
                   60 months, results in a dividend to unsecured creditors of $8,640.60. Pursuant to
 10                Trustee’s calculations, the dividend to unsecured creditors is $8,614.66. However,
                   Trustee reserves the right to file an amended evaluation requiring adjustments to
 11                the terms of the plan, including an increase in plan funding if necessary, in order
 12                to address all timely filed proofs of claim once the claims bar date has passed in
                   this case.
 13
               12. Objections to Confirmation. Debtors shall resolve plan objections by submitting a
 14                proposed SOC to Trustee or by setting a hearing on the objection within 30 days of this
                   objection/evaluation. If Debtors wish to confirm by stipulation, the stipulation of the
 15                objecting creditor must be obtained in writing prior to submitting a proposed SOC to
                   Trustee. If the resolution of the objection requires changes which have an adverse
 16
                   impact on any other creditor under the plan (including a reduction in the amount to any
 17                creditor and/or a delay in payment), the changes must be noticed to creditors and an
                   opportunity for objection provided. To date Trustee has noted that the following
 18                creditors have filed objections to the Chapter 13 Plan: NONE.
 19            13. Submission of Proposed SOC. If Debtors propose to confirm the plan through a
                   stipulated order on confirmation, a Notice of Submitting Proposed SOC should be filed
 20                with the Court, including a complete copy of the Proposed SOC as an exhibit. The
 21                Notice, SOC, and filing receipt may then be transmitted to Trustee via electronic mail
                   (mail@dcktrustee.com) or first class mail. Trustee will not review a proposed SOC if
 22                it does not appear on the court’s docket. 1 Trustee considers the time for reviewing a
                   proposed Order pursuant to LRBP Rule 2084-13(e), to begin running when all
 23                Recommendation conditions are met.
 24
 25
      1
               The alternative to stipulated confirmation is setting a contested confirmation hearing before the
 26   judge.




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  1
                 RESPECTFULLY SUBMITTED this 15th day of February, 2018.
  2
  3
                                                     OFFICE OF THE CHAPTER 13 TRUSTEE
  4                                                  7320 N. La Cholla #154-413
                                                     Tucson, AZ 85741
  5
                                                     By /s/ DCK #011557
  6                                                     Dianne C. Kerns, Chapter 13 Trustee
  7
      A copy of the foregoing was filed with the
  8
      court and a copy, together with a receipt of filing,
  9   was transmitted via electronic or first class
      mail this 2/15/2018 to:
 10
      JERRY B STAFFORD
 11   CAROL A STAFFORD
      43138 W HILLMAN DR
 12
      MARICOPA, AZ 85138
 13   Debtors

 14   DAVID W REICHEL
      OSWALT LAW GROUP PC
 15   300 W CLARENDON AVE
      STE 290
 16
      PHOENIX, AZ 85013
 17   Email: davidr2@oswaltlawgroup.com
      Attorney for Debtors
 18
      By: NC
 19
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